          Case 1:21-cv-12039-IT Document 64 Filed 05/22/23 Page 1 of 2




                                      United States District Court
                                       District Of Massachusetts


                  Michael Bush, pro se



                         Plaintiff



                            v.

                                                             Civil Action No.: 1:21-cv-12039

           Acton Boxborough Regional School

                     District,

                       Peter Light,

                  Erin O’Brien Bettez,

                  Dawn Griffin Bentley



                       Defendants




                         Plaintiff’s request for leave to file notice

       The undersigned pro se Plaintiff understands from Local Rule of Civil Procedure

7.1(b)(3) that before filing a document with this Court that is not a motion, he must first

obtain leave to file it. Therefore, the Plaintiff requests leave to file a notice informing

this Court of:



       Page 1 of 2
   Case 1:21-cv-12039-IT Document 64 Filed 05/22/23 Page 2 of 2




   1. The specific respects in which the Defendants and the Plaintiff’s former

      attorney have misled this Court and the undersigned pro se Plaintiff

      regarding his Americans with Disabilities Act claim before this Court, and

   2. The specific federal and local rules of civil procedure with which this

      case’s handling has been non-compliant.

                                                Respectfully submitted,

      Date: May 22nd, 2023                                           , Pro Se

                                                Michael Bush

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Page 2 of 2
